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Attorneys for Popular Bank f/k/a
Banco Popular North America
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:                                                            Chapter 11
                                                                  Case No. 18-22963-rdd
         EMC BRONXVILLE METROPOLITAN, LLC, fka
         METLOFT BRONXVILLE, LLC


                              Debtor.


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


               PLEASE TAKE NOTICE that the law firm set forth below appears as counsel

for Popular Bank f/k/a Banco Popular North America, (“Popular Bank”) a creditor and party-in-

interest in the above-captioned Chapter 11 bankruptcy case, and pursuant to Rules 2002, 9007

and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Section

1109(b) of Title 11 of the United States Code, as amended (the “Bankruptcy Code”), request that

the following name and address be added to the mailing list maintained by the Clerk of Court

and Debtor’s counsel in this case and further demand that all notices given or required to be

given in this case and all papers served or required to be served in this case by all counsel,

parties-in-interest, and this Court be given to and served upon the following counsel:
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                               Nathan Schwed, Esq. and
                               Mark W. Schlussel, Esq.
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               PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not

only the notices and papers referred to in the Bankruptcy Rules and Bankruptcy Code set forth

above, but also includes, without limitation, orders and notices of any application, motion,

petition, pleading, request, complaint or demand, whether formal or informal, whether written or

oral, and whether transmitted, conveyed by mail, hand delivery, telephone, telegraph, telex, e-

mail or otherwise, which affects the Debtor or property of the Debtor’s or the rights of creditors

and parties-in-interest such as Popular Bank.


               PLEASE TAKE FURTHER NOTICE that Popular Bank does not intend that

this Notice of Appearance and Request for Service of Papers or any later appearance or pleading

be deemed or construed to be a waiver of its right: (i) to have final orders in non-core matters

entered only after de novo review by a District Judge; (ii) to trial by jury in any proceeding so

triable in this case or any case, controversy, or proceeding related to this case; (iii) to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; and (iv) to any other rights, claims, actions, setoffs, or recoupments to which

Popular Bank is or may be entitled under agreements, in law or in equity, all of which rights,

claims, actions, defenses, setoffs and recoupments Popular Bank expressly reserves.




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Dated: New York, New York
       August 20, 2018

                                         ZEICHNER ELLMAN & KRAUSE LLP
                                         Attorneys for Popular Bank f/k/a Banco
                                         Popular North America

                                   By: /s/ Nathan Schwed
                                       Nathan Schwed
                                       1211 Avenue of the Americas
                                       New York, New York 10036
                                       (212) 223-0400




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